                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

IN RE:                                           §
                                                 §            CHAPTER 11 CASE
PRIMERA ENERGY, LLC,                             §
       DEBTOR                                    §            CASE NO. 15-51396-cag
                                                 §

                                   NOTICE OF APPEARANCE AND
                                 REQUEST FOR SERVICE OF PAPERS

        PLEASE TAKE NOTICE that Langley & Banack, Incorporated has been retained as

counsel for Frederick Patek, Geraldine Patek, Jim Gregory, Cal Curtner, Lisa Simpson, Jasper

Campise, Karen Smith, William Crawford, Mike Covington, Marc Keese, Mike Mcpherson, Ed

Mcpherson, Wesley Crow, Dieter Jansen, Quackenbush Petroleum, James Reiley, Betty Reiley,

Rick Reiley, Greg Shilts, Jana Shilts, Vincent J. Gillette, Marjorie A. Gillette, Thomas J. Gillette,

Edward A. Gillette, Sharon Walls And Buddy Walls and On Behalf of All Other Similarly

Situated Investors Of Defendants' "Screaming Eagle", "Montague Legacy" And "Buda Well"

Investments (collectively referred to as “Investors”) creditors and parties in interest, in the

above-referenced proceeding and that, pursuant to Section 1109(b) of the United States

Bankruptcy Code and Rule 2002 of the Bankruptcy Rules, the undersigned requests that all

notices given or required to be served in this case be given to and served upon the following:

                                           DAVID S. GRAGG
                                          NATALIE F. WILSON
                                 LANGLEY & BANACK INCORPORATED
                                       Trinity Plaza II, Ninth Floor
                                            745 East Mulberry
                                     San Antonio, Texas 78212-3166
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                                                -and-


L & B 00103/0001/L0984406.DOC/
                                  BRANDON M. BARCHUS
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                                              -and-

                                 LAWRENCE MORALES II
                                 THE MORALES FIRM, P.C.
                                 115 E. Travis St., Suite 1530
                                  San Antonio, Texas 78205
                                  (210) 225-0811 Telephone
                                Lawrence@themoralesfirm.com

       PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the United

States Bankruptcy Code, the foregoing request includes all notices and papers referred to in Rule

2002 of the Bankruptcy Rules and also includes, without limitation, any plan of reorganization

and objections thereto, notices of any orders, pleadings, motions, applications, complaints,

demands, hearings, disclosure statements, answers, responses, memoranda or briefs in support of

the foregoing and any other documents brought before the Court with respect to these

proceedings, including but not limited to contested and non-contested matters, and adversary

proceedings, whether or not Applicant is named as a party defendant in those particular matters

or proceedings, whether formal or informal, whether written or oral and whether transmitted or

conveyed personally or by mail, delivery, telephone, e-mail, telegraph, telex or otherwise.

                                             RESPECTFULLY SUBMITTED,

                                             LANGLEY & BANACK, INCORPORATED
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                                             745 East Mulberry
                                             San Antonio, TX 78212-3166
                                             Telephone: (210)-736-6600
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                                     By:    /s/ David S. Gragg
                                            DAVID S. GRAGG
                                            Texas State Bar No. 08253300
                                            NATALIE F. WILSON
                                            Texas State Bar No. 24076779

                                            ATTORNEYS FOR INVESTORS: Frederick Patek,
                                            Geraldine Patek, Jim Gregory, Cal Curtner, Lisa
                                            Simpson, Jasper Campise, Karen Smith, William
                                            Crawford, Mike Covington, Marc Keese, Mike
                                            Mcpherson, Ed Mcpherson, Wesley Crow, Dieter
                                            Jansen, Quackenbush Petroleum, James Reiley, Betty
                                            Reiley, Rick Reiley, Greg Shilts, Jana Shilts, Vincent
                                            J. Gillette, Marjorie A. Gillette, Thomas J. Gillette,
                                            Edward A. Gillette, Sharon Walls And Buddy Walls
                                            and On Behalf Of All Other Similarly Situated
                                            Investors Of Defendants' "Screaming Eagle",
                                            "Montague Legacy" And "Buda Well" Investments


                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was electronically transmitted to the Clerk of the Court using the ECF System for filing and
transmitted electronically to all ECF participants registered to receive electronic notice in the
bankruptcy proceeding and on the parties below and on the attached service list via U.S. regular
mail, postage prepaid on this 4th day of June, 2015.

Debtor
Primera Energy, LLC
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San Antonio, TX 78260

Debtor’s Attorney
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San Antonio, TX 78230

United States Trustee
P.O. Box 1539
San Antonio, TX 78295-1539

                                                    /s/ David S. Gragg
                                                    David S. Gragg




                                               3
